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                                                                                 AT ROM OKE,VA
                                                                                      FILED

                                 IN THE UNITED STATES DISTRICT COURT                 JLL 212219
                                FOR THEW ESTERN DISTRICT OF VIRGINIA            JULIA C. UDLEM CLERK
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                                                         DIVISION              BY:
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            Plqintifqs),
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                                                             civilActionNo.: 1,lQ                          -
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     tfx ûttœrct.                                  ,
            Defendantls).
(Enterthefullnamets)ofALLpartiesinthi  slawsuit.
Pleaseattach additionalsheetsifnecessary).

                                             COM PLAINT

PARTIES

            List allPlainti
                          ffs. State the fullnam q ofthe Plaintiff,address and telephone num ber.
            Do the sam e forany additionalPlaintiffs.

          a. PlaintiffNo.1

               Name:        -$oLu.xvnkc.- Ci tt
               Address: !qacl ca'tteitc Ave se . A oovxoto-.vû
                                                       .




               Telephone Num ber:       %qo -qO q -eO G'1
                                                        3
       .'
          b. PlaintiffNo.2

               Nam e:                                                                             .

               Address:

               Telephone Num ber:




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       List aIIDefendants. State the fullnam e of the Defendant,even ifthat Defendant is a
       governm ent agency, an organization, a corporation, or an individual. Include the
       addresswhereeach Defendantmaybeserved. Makesurethatthe Defendantts)listed
       below are identicalto those contained in the above caption ofthe com plaint.

       a. DefendantNo.1

          Name: nrPOCA G ool Q J'isiG oo Cor .
          Address: kt N ut.e.ï G<- '-pczayw.t ,< y loe
                                                     )on   - --
                                                                                            -
       b. DefendantNo.2

          Name:         htp-vt'
                              vn tàAtUV'J.
          Address: 7 1: 6 o t2 u htt g w a clkoo Dr.tocm oks vp wq ôtT
NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE PROVIDE THEIR
NAMESANDADDRESSESONASEPARATESHEETOFPAPER./
Checkhereifadditionalsheetsofpaperareattached: V
Please Iabel the attached sheets of paper to correspond to the appropriate num bered
paragraphabove(e.g.AdditionalDefendants2.c.,2.d.,etc.).                               '
JURISDICTION

Federalcourts are courtsofIim i
                              tedjurisdiction. Generally,two typesofcasescan be heard in
federalcourt: cases involving a federalquestion and cases involving diversity of citizenship of
the parties. Under28 U.S.C.5 1331,a case involvingthe United StatesConstitution orfederal
Iawsiortreatiesisafederalquestioncase. Under28 U.S.C.j 1332,a c?se in which a citizenof
onestatesuesaci   tizenofanotherstateandtheamountofdamagesismorethan$75,000isa
diversityofcitizensbip case, Federalcourtsalso have jurisdiction overcaseswherethe United
States isa Defendant.

   3. W hatisthe basisforfederalcourtjurisdiction?

  FederalQuestion           I
                            --lDiversityofCitizenship             F-lGovernmentDefendant
   4. Ifthe basisforjurisdiction isFederalQuestion,which FederalConstitution,statutory or
       treaty rightisatissue? ListaIIthatapply,

      ''Alà.
           s .I - Ctv'
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                         '

        Ifthe basisforjurisdiction isDiversityofcitizenship,whatist$e stateofcitizenship of
        each party?      Each Plaintiff m ust be diverse from each Defendant for diversity
        jurisdiction.        -
        PlaintiffNo.1:                            State ofCitizenship:

        PlaintiffNo.2:                            State ofCitizenship:

        DefendantNo.1:                            State ofCitfzenship:

        DefendantNo.2:                            State ofCitizenship:

        Attach additionalsheetsofpaperas necessary and Iabelthisinform ation as paragraph
        5.Checkhereifadditionalsheetsofpaperareattathed.I'
                                                         -I
STATEM ENT OFTHE CLAIM

Describe in the space provided below the basic facts of your claim . The description of facts
should include a speci fic explanation ofhow,where,and w hen each ofthe defendants nam ed
in the caption violated the law ,and how you were harm ed. Do notgive any Iegalargum entsor
cite casesorstatutes, Each paragraph m ustbe num bered separately,beginning with num ber6.
Please w rite each single setofcircum stancesin a separately num bered paragraph.

   6.               '




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    .@
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         Case 7:19-cv-00479-GEC Document 1 Filed 07/01/19 Page 4 of 9 Pageid#: 4
    Attach additional sheets of paper as necessary and Iabel them as Additional Facts and
    continue to num erthe paragraphs consecutively. Check here if additionalsheets of paper
    are attached.

    REQUEST FOR RELIEF

    State w hatyou w antthe Courtto do foryou and the am ountofm onetary com pensation,ifany,
'
    you are seeking..-

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                  v.a.                              V J' ii ''
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DEMANDFORJURYTRIAL:                dyEs                 L so
signedt
      his t:-1   dayofJ ot         Qoto?  .




                            SignatureofPlaintiffNo.1        Gt
                                                             *ur o          *


                            Signature ofPlaintiffNo.2

NOTE: AlIPlaintiffs nam ed in the caption ofthe com plaintm ustdate and sign the com plaint.
Attach additionalsheets ofpaperas necessary.




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AdditionalDefendants


John Peterson
5527 Indian Grave Road Roanoke VA 24018


Kaylee Peterson
5527 Indian Grave Road Roanoke VA 24018




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                                               Com plaint




6.Plaintiffîsaformerem ployeeofTBG FoodAcquisitionCorp.Plaintiffwashired in May2017 asafrontcounter
cashier.OnoraroundJuly1,2017plaintiffwassubjectedtodiscriminationbaseduponherrace(African
American).Plaintiffwasremovedfrom herregularassignedposi
                                                       tionatthefrontcounterandintoaposition
requiringherto dothem oststrenuousdutiesinthe restaurant,despite herpregnancy.Plaintiffwasremoved from
herpositionwithoutexplanationorreasonbyDefendantKayleePeterson/Plaintiffwasnottrainedfortheposition
and receiveddail
               ythreatsofwrite-upsortermination ifthedutieswerenotcomplete,Plaintiffasked to be
relievedform thestrenuouspositionbecauseofthestrain and potentialharm thatcould be placed on herunborn
child.DefendantKaylee Petersonstatedtothe plaintiffthatshewould berelieved oncesomeone elsewashired.
Co-workersofotherracewerenotaskedorrequiredtoper?orm thestrenuousdutiesrequiredofthePlaintiff.
W henstartingthe hiringprocessDefendantKaylee Petersonmadeseveralracistcommentstothe Plaintiff
encouraging hertotell''yourpeople''thattherestaurantwashiring,statedtothePlaintiffherdesireto hire some
of''
   yourpeople'',and on severaloccasionsreferredto AfricanAmericansin conversationswiththe Plaintis as
''yourpeople/friends'.Plaintif'fdiscoveredduringco-workershiringprocessthattheyweregivenaccesstoonline
training,Plaintiffasked DefendantKaylee Petersonaboutthetrainingandwastol d thatshewasn'tallowed access
to training becauseshewasn'tdirectlyhiredby DefendantKaylee Peterson.W hen Plaintiffinquired more about
thetraining DefendantKayleePeterson statedthatthe plaintiffwould haveto dothetraining 'on herowntime''
althoughco-workerswere offeredonthejoband ontheclocktraining.
7.OnoraroundAugust1,2017 Plaintiffw aspartytoconversationswith DefendantJohn Petersonw herehe m ade
severaloffensivecommentsaboutthe Plaintiff'spregnancy.Duringoneconversation DefendantJohnPeterson
statedthati'nobodywantstheirfoodmadebysomeonewithabigbell/'.DefendantJohnPetersonalsomade
commentstothe Plaintiffaboutwhyshewasno longerfrontcounterpersonto insinuate thattheposi
                                                                                       tionchange
wascontingentuponthediscokeryofherpregnancy.Plaintiffwasalsosubjectedto harassing remarksmade by'
DefendantJohn Peterson statingthatshe needed totake materni
                                                          tyIeave andrepeatedly askingwhen shewould.
8.OnoraroundSeptember2% 2017 DefendantJohnPetersonwasapartyto oroverheardaconversationwhere
thePlaintiffdisclosedinformationaboutthedisabilitiesthatshesusers.DefendantJohn Petersonthenfollowed
thePlaintiffintotherestaurant'swalkinfridge/freezer.DefendantJohnPetersonthenstuckhisheadintothe
freezerarewheredefendantwas.He immediatelyclosed the doortothefreezerandturnedofftheIights.Asthe
PlaintifftriedtoexitthefreezerDefendantJohn Petersonheldorblockedtheexitso thatthe Plaintiffcould not
exit,ThePlaintiffimmediatelysuffereda panicattackand severeemotionaldistressdueto herdisabili
                                                                                            tiesand this
intentionalact.
9.Onoraround October2,2017 Plaintiffreportedthefreezerincidentto DefendantKekinAllardi.Plaintiff
explaihed to DefendantKevinAllardiherfearand paranoiaofreturningtow orkw ith the Defendantsafterthe
incident.DefendantKevinAllardiwasawareofthe incidentanddisregardeditto theplaintiffas'/ajoke''.He#lso
statedthatDefendantJohn Peterson hasworkedwiththecompanyforyearsandthathehad no intentionof
reprimanding him.DefendantKevinAllardionlyofferedtheremedyofdisplacingthePlaintiffatanotherstore
Iocation.PlaintiffstatedtoDefendantAllarditheseriôusnessofherconditionandthetraumacaused to her.
Plaintiffalsostatedthatshewasuncomfortableworkingalonewith DefendantlohnPeterson.Plaintiffand
DefendantAllardiagreedthatPlaintiffwouldnotworkwith DefendantJohnPetersonandtochangethePlaintiff's
positionto one thatdoesnotrequireherto enterthefreezerarea.Plaintif   'fagreed to returnto work.Onoraround
Oct.4,2017 Plaintiffwasrequired toworkw   'ith DefendantJohn Peterson,DefendantJohnPetersonmadeseveral
intim idatingrem arksand displayed hostile bodylanguagetowardsthe Plaintif'
                                                                          f.DefendantJohn Petersonalso
slanderedthePlaintiftootherco-workerclaimingthatshewas'laz/'and''insubordinate''fornotenteringthe



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freezer.Theplaintiffwassubjectedtodailyharassmentaboutherconditionandridiculedandbelittledbyco-
workersand supervisors.OnoraroundOct.420117,despitenotbeinginthe building DefendantKpylee Peterson
reportedthePlainti
                 ffto HRforallegedlynotfollowinginstructions.ThePlaintiffwasinthebathroom mostofthe
daysufferingpanicattacksandcryingduetoahostileworkenvironment.
10.AfterreportingtheIncidentto HRonoraroundOctober4,2017 Plaintiffwaswritten up repeatedlvby.
DefendantKaylee Petersoninretaliation.
11.Plaintiffwassubjqctedtoanincreasinghostileworkenvironmentandexcessstressstartedcausing
complicationsin herpregnancy.
12.On oraround November10,2017Plainti  ffspoketoamanagerregardingthe discriminationofanotherworker
andthePlaintiffwasimmediatelywritten up.W henthePlaintiffaskedaboutthe negativeadverseactionsbeing
usedagainsthe'rDefendantKayleePetersonstated '/1justwantitaIlthistogoaway'. DefendantKayleePeterson
alsotoldthePlaintiffthatshewouldreceiveanotherwri
                                                teupinafew days.
13.On November,14,2017 Plaintiffwasgivenawrite upofalleged incidentsfrom August2017to November
2017.Atthatpoint,retaliationwasevidentto the Plaintiffand shefel
                                                               tintimidated andfearedthatifshe
proceededwithmakingcomplaintsshewould befaced withmoreharassmentand retaliation.
14,Plaintiffgavebirthtoherchild preterm onNovember22,2017duetocomplicationsinpregnancycaused by
stress.

14.Plaintiffwasconstructivelydischargedfrom herpositiononoraround Decem ber2,2017asaresultof
discrimination,harassment,hostileworkenvironment,andretaliation.




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